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                      UNITED STATES DISTRICT COURT

                               DISTRICT OF IDAHO


DAVID ROLAND HINKSON,                            Criminal No.: 3:02-cr-142-RCT
                                                 Criminal No.: 1:04-cr-127-RCT
              Petitioner,                        Civil No.: CIV 1:12-cv-196-RCT

  v.
                                                 ORDER DENYING RECUSAL
UNITED STATES OF AMERICA,                        MOTION

              Respondent.



                                    OVERVIEW

       David Roland Hinkson (“Hinkson”) moves to recuse the undersigned judge

pursuant to 28 U.S.C. § 455(a). Hinkson’s recusal motion was filed concurrently

with a lengthy 28 U.S.C. § 2255 habeas petition, through which Hinkson seeks to

vacate his convictions for soliciting the murders of three federal officials, including

a United States District Judge, an Assistant United States Attorney (“AUSA”), and

a Special Agent of the Internal Revenue Service (“IRS”) Criminal Investigation

Division. See Case No. 1:12-cv-196-RCT, Doc. No. 1, Motion to Vacate, Set

Aside or Correct Sentence (2255), Memorandum in Support of Ground Two; see


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also Case No. 1:04-cr-127-RCT (the criminal solicitation case). After careful

consideration of Hinkson’s voluminous pleadings filed in this collateral

proceeding, the lengthy record from Hinkson’s two federal criminal trials presided

over by the undersigned, and Hinkson’s previous unsuccessful recusal motions

against the undersigned (for which Hinkson did not seek appellate review), the

motion is denied.

                                       FACTS1

I.    Hinkson’s criminal trials and convictions.

      In 2002, Hinkson was indicted for financial crimes including money

laundering, income tax evasion, failure to file tax returns, and failure to collect and

pay payroll taxes. See Case No. 3:02-cr-00142-BLW-RCT, Doc. No. 1,

Indictment. In 2004, while awaiting trial on his tax case, a federal grand jury in

Idaho returned an eleven-count indictment against Hinkson for soliciting the

murders of three federal officials involved in the tax case: United States District



      1
             Filed concurrently with this Order is a separate Memorandum
Decision addressing and denying as previously adjudicated on direct appeal,
procedurally defaulted, or, alternatively on the merits, Hinkson’s multiple claims
for habeas corpus relief. That decision explains the facts and history of Hinkson’s
prior criminal trials, and is incorporated herein by reference to further explain the
basis for denial of this latest recusal motion.
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Judge Edward J. Lodge (originally assigned to preside over the matter), AUSA

Nancy Cook (the prosecutor), and IRS Special Agent Steven Hines (the case

agent). See Case No. 1:04-cr-00127-RCT, Doc. No. 37, Superceding Indictment.

      Hinkson’s criminal tax trial was eventually transferred to, and conducted

before, the undersigned judge in April and May of 2004. A jury convicted

Hinkson in the tax case on May 4, 2004. See Case No. 3:02-cr-00142-BLW-RCT,

Doc. No. 307, Verdict. Hinkson’s murder-solicitation trial commenced before the

undersigned in January of 2005. A jury convicted Hinkson in the murder-

solicitation case on January 27, 2005. See Case No. 1:04-cr-00127-RCT, Doc. No.

190, Jury Verdict. The Court sentenced Hinkson to consecutive sentences of ten

years’ imprisonment for each of the three murder-solicitation convictions and three

years for making the solicitations while on pretrial release from his tax case.

II.   Hinkson’s demonstrated pattern of vexatious conduct.

      As previously explained by this Court, Hinkson has a long history of

obstructing justice. See Case No. 1:04-cr-127-RCT, Doc. No. 244, Memorandum

Decision and Order at 23 (noting Hinkson’s “repeated and persistent misconduct

and abuse of the legal system”). Contemporaneous with his criminal trials,

Hinkson “engaged in protracted frivolous civil litigation in Federal District Court


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seeking to abuse the legal process and intimidate federal officials from performing

their duties.” Id. at 23–24; see also Case No. 2:02-cv-171-EJL, Doc. No. 80, Order

Granting Motion to Dismiss at 6 (summarily dismissing Hinkson’s Bivens action).

Hinkson also filed a number of administrative complaints against the federal

officials involved in his tax case,2 each of which was dismissed, denied, or deemed

unfounded. See Case No. 1:04-cr-127-RCT, Doc. No. 244, Memorandum Decision

and Order at 23.

      As a component of this general strategy to “game the system,” see id. at 27,

Hinkson previously sought recusal or reassignment of every judge who has

presided over his federal criminal proceedings, including U.S. District Judge

Edward J. Lodge,3 Chief U.S. District Judge B. Lynn Winmill,4 U.S. Magistrate


      2
              See Case No. 1:04-cr-127-RCT, Doc. No. 244, Memorandum
Decision and Order at 25–26 (listing complaints Hinkson filed against federal
agents with “the Commissioner of Internal Revenue, the Chief Postal Inspector, a
District Director of the I.R.S., and the U.S. Attorney General” as well as “internal
affairs-type complaints with the Office of Inspector General of the Department of
the Treasury” and “the U.S. Department of Justice Office of Professional
Responsibility”).
      3
             See Case No. 1:04-127-RCT, Doc. No. 9, Motion for Recusal of Judge
Winmill and Magistrate Judge Williams at 4 (Hinkson, noting that Judge Lodge
had no choice but to withdraw from the case because Hinkson’s “alleged” threats
“obviously were originally communicated ex parte to Judge Lodge”); Doc. No.
244 at 25 (the Court, noting that Hinkson “successfully forced the recusal of Judge
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Judge Michel Williams,5 and the undersigned U.S. Circuit Judge Richard C.

Tallman (twice).6

      Recognizing Hinkson’s penchant for recusal motions, this Court previously

made a factual finding that Hinkson’s “modus operandi [is] to harass every court

and to seek recusal of all judges against whom he harbors substantial resentment.”

Id. at 29 (denying Hinkson’s motion for new trial, including his renewed argument


Lodge”).
      4
              See Case No. 1:04-127-RCT, Doc. No. 9, at 4 (Hinkson, arguing for
Judge Winmill’s recusal because “Judge Winmill presumably had off-the-record
conversations with Judge Lodge and/or other government officials regarding [the
murder solicitation] allegations”); see also Case No. 3:02-cr-142-RCT, Doc. No.
242, Motion to Reassign Entire Case, Including Detention Issue, to Judge Tallman
at 1 (Hinkson, arguing that Chief Judge Winmill should not preside over
previously scheduled detention hearing, but rather should “reassign the entire case,
in particular the detention issue, to Judge Tallman”).
      5
            See Case No. 1:04-127-RCT, Doc. No. 9 at 4 (Hinkson, arguing for
Judge Williams’s recusal because “Judges Winmill and Williams obviously have a
close working relationship with Judge Lodge, an alleged victim of the alleged
threats.”).
      6
             See Case No. 1:04-127-RCT, Doc. No. 117, Motion to Recuse Judge
Tallman at 3 (Hinkson, arguing for the undersigned’s recusal based on Hinkson’s
threats against the undersigned), motion denied, Doc. No. 122 (Nelson, T.G., J.)
(“Unless one veers into the realm of the hypothetical, one can find no support for
[Hinkson’s recusal] argument, and even then, any support is dubious.”); see also
Doc. No. 224, Motion for New Trial at 8 (renewing argument to recuse the
undersigned); Doc. No. 322, Motion to Recuse Judge Tallman at 1 (present
motion).
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for the undersigned’s recusal). The Court predicted then that “because [Hinkson]

has previously and repeatedly engaged in similar misconduct directed at other

judges, prosecutors, investigators, attorneys, and witnesses, it is highly probable

that he will continue to engage in similar and additional misconduct in the future.”

Id. at 30. As anticipated—and for the third time—Hinkson seeks the undersigned’s

recusal.

                                   DISCUSSION

I.    Section 455(a) Standard.

      Section 455(a) states that “[a]ny justice, judge, or magistrate judge of the

United States shall disqualify himself in any proceeding in which his impartiality

might reasonably be questioned.” The Ninth Circuit has interpreted this provision

to mean that a judge should disqualify himself when a reasonable person aware of

all the pertinent facts might reasonably question the judge’s impartiality. United

States v. Holland, 519 F.3d 909, 913 (9th Cir. 2008). Recusal is thus “justified

either by actual bias or the appearance of bias.” Yagman v. Republic Ins., 987 F.2d

622, 626 (9th Cir. 1993).

      A judge ordinarily need disqualify himself only when the indications of bias

come from extrajudicial sources. Liteky v. United States, 510 U.S. 540, 554–56


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(1994). Consistent with this general rule, a judge’s rulings almost never support a

recusal motion. Id. at 555. Even when the motion complains of the judge’s

treatment of the movant at a different stage of litigation, the “judge’s prior adverse

ruling is not sufficient cause for recusal.” United States v. McTiernan, __ F.3d __,

slip op. at 9468 (9th Cir. Aug. 20, 2012) (internal quotation marks omitted). Even

a “judge’s conduct during the proceedings should not, except in the ‘rarest of

circumstances’ form the sole basis for recusal under § 455(a).” Holland, 519 F.3d

at 914 (quoting Liteky, 510 U.S. at 555) (footnote omitted). Thus, the fact that a

judge who presided over a trial may “upon completion of the evidence, be

exceedingly ill disposed towards the defendant, who has shown to be a thoroughly

reprehensible person,” the judge is “not thereby recusable for bias or prejudice.”

Liteky, 510 U.S. at 550–51.

      It is firmly established law in our circuit that it is the challenged judge who

should rule on the recusal motion. See United States v. Studley, 783 F.2d 934, 940

(9th Cir. 1986).

II.   Hinkson’s Proposed Grounds for the Undersigned’s Recusal.

      Hinkson offers three general arguments for why the undersigned should

recuse. First, he argues that the undersigned’s rulings demonstrate bias. Second,


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he argues that the practice of circuit judges sitting by designation as district judges,

as the undersigned did in the underlying tax and murder-solicitation trials,

demonstrates bias. Finally, he alleges that the undersigned held an ex parte

meeting with a government witness during the murder-solicitation trial,

demonstrating bias. Each of these claims fail.

      A.      This Court’s Adverse Rulings.

      Hinkson accuses the undersigned of “miscreant rulings” during the

underlying criminal trials, and argues that such rulings require recusal. See Case

No. 1:04-cr-127-RCT, Doc. No. 322, Motion to Recuse Judge Tallman.7 As

explained above, however, the undersigned’s adverse rulings at trial, standing

alone, will not support recusal under § 455(a). See, e.g., Holland, 519 F.3d at

913–14 (explaining that the recusal statute “generally requires as the basis for

recusal something other than rulings, opinions formed or statements made by the

judge during the course of trial”). The undersigned’s prior rulings do not require



      7
              Hinkson’s recusal motion challenges the undersigned’s “erroneous”
rulings pertaining to: (1) the testimony of government witnesses; (2) a note from a
juror to the Court inquiring about Hinkson’s mental health; and (3) the withdrawal
of defense counsel Wesley Hoyt. These rulings are fully discussed in the Court’s
concurrently filed Memorandum Decision addressing and denying on the merits
Hinkson’s multiple claims for habeas corpus relief.
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recusal in this case.

      B.     Circuit Judges Sitting by Designation.

      Hinkson accuses the undersigned of judicial misconduct for sitting by

designation as a district judge in the underlying criminal cases, knowing that the

cases “ultimately would be presented to the Ninth Circuit Court of Appeals.” Doc.

No. 322, Motion to Recuse Judge Tallman at 5. Hinkson believes that a judge in

this situation is able to exert undue influence on his peers such that they

rubber-stamp his rulings. Id. (“Because the Ninth Circuit is Judge Tallman’s home

court, he has had the unhampered opportunity to unfairly prejudice other judges of

the Ninth Circuit against me so as to ensure that the underlying unfair, unlawful

and unconstitutional convictions would be sustained.”).

      As a preliminary matter, Hinkson’s allegation of undue influence is plainly

inconsistent with the history of his case. As Hinkson concedes, a three-judge panel

of the Ninth Circuit Court of Appeals initially reversed this Court’s decision in the

murder-solicitation case, and remanded the matter for a new trial. United States v.

Hinkson, 526 F.3d 1262 (9th Cir. 2008). Notwithstanding the undersigned’s

formal recusal from all appellate proceedings in the matter, a majority of

nonrecused active judges voted to rehear Hinkson’s murder-solicitation appeal en


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banc. See United States v. Hinkson, 547 F.3d 993 (2008) (“Upon the vote of a

majority of nonrecused active judges, it is ordered that this case be reheard en

banc . . . . Judges Silverman and Tallman did not participate in the deliberations or

vote in this case.”). Upon rehearing, a divided en banc panel of the Ninth Circuit

affirmed Hinkson’s murder conviction. United States v. Hinkson, 585 F.3d 1247

(9th Cir. 2009) (7-4). The United States Supreme Court denied Hinkson’s petition

for certiorari. See Hinkson v. United States, 131 S. Ct. 2096 (2011). This case

history does not present any evidence of undue influence prejudicing Hinkson’s

appeal.

      As to his general argument against circuit judges sitting as district judges,

this practice is as old as the Republic itself. See Del Vecchio v. Ill. Dep’t of Corr.,

31 F.3d 1363, 1390 (7th Cir. 1994) (Easterbrook, J., concurring). District and

Circuit Judges regularly sit by designation on each other’s courts. See Richard B.

Saphire & Michael E. Solimine, Diluting Justice on Appeal?: An Examination of

the Use of District Court Judges Sitting by Designation on the United States

Courts of Appeals, 28 U. Mich. J. L. Reform 351, 356 (1995) (“[E]ach year a

significant number of federal appellate cases are decided by three-judge panels

consisting of one or more [district] judges . . . .”). Importantly, as other districts


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have recognized, “the practice [of appellate judges sitting as district judges by

designation] is not uncommon,” and, as was initially the case in Hinkson’s direct

appeal, “every so often a circuit judge sitting as a district judge in his or her own

circuit is reversed on appeal.” Edlund v. Montgomery, 355 F. Supp. 2d 987, 991

(D. Minn. 2005). Hinkson does not explain why this long-standing, well-

established practice impairs the undersigned’s impartiality in the present case. His

claim of undue influence is thus rejected.

      C.     Alleged Ex Parte Contact with Government Witness.

      Finally, Hinkson attaches an affidavit from his former counsel, Wesley

Hoyt. Hoyt’s affidavit states that, on one occasion during trial, he observed

government witness Elven Joe Swisher (“Swisher”) leaving the visiting judge’s

chambers at the Boise federal courthouse. Hoyt also states that Swisher appeared

to be saying goodbye but acknowledges that he did not see anyone else present

besides Swisher. It is curious that Hoyt would view such an exchange but fail to

contemporaneously raise the issue and seek clarification with this Court.

      Even taking Hoyt’s assertions as true, however, the innocuous content of the

affidavit is not sufficient to warrant recusal. Hoyt states that he saw no member of

the prosecution present and overheard nothing of substance. “It is not suggested or


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implied that any improper conduct took place in this conference or that the merits

of the case were discussed.” Willenbring v. United States, 306 F.2d 944, 946 (9th

Cir. 1962). Without more, Hoyt’s affidavit is simply insufficient. “Rumor,

speculation, beliefs, conclusions, innuendo, suspicion, opinion, and similar

non-factual matters do not form the basis of a successful recusal motion.” Sivak v.

Hardison, 658 F.3d 898, 926 (9th Cir. 2011) (internal quotation marks and

brackets omitted).

                                 CONCLUSION

      Accordingly, IT IS HEREBY ORDERED that Hinkson’s motion for recusal

is DENIED.

      SO ORDERED this 28th day of August, 2012.




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